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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-781V
                                     Filed: March 18, 2016
                                         UNPUBLISHED

****************************
KELLY DILLON,                             *
                                          *
                     Petitioner,          *      Joint Stipulation on Damages;
                                          *      Tetanus, Diphtheria, Pertussis
                                          *      (“Tdap”); Vaccine; Shoulder Injury
SECRETARY OF HEALTH                       *      Related to Vaccine Administration
AND HUMAN SERVICES,                       *      (“SIRVA”); Special Processing
                                          *      Unit (“SPU”)
                     Respondent.          *
                                          *
****************************
Maximillian Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Douglas Ross, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On July 24, 2015, Kelly Dillon (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered a shoulder injury caused
by the Tetanus, Diphtheria, Pertussis (“Tdap”) vaccine she received on September 6,
2014. Petition at 1, ¶¶ 2, 4, 10; see also Stipulation, filed Mar. 18, 2016, ¶¶ 2, 4.
Petitioner further alleges that she suffered his symptoms for more than six months,
received the vaccine in the United States, and has never received compensation for her
vaccine-related injuries. Petition, ¶¶ 2, 10-11; see also Stipulation, ¶¶ 4-5.
“Respondent denies that the Tdap vaccine caused petitioner to suffer a shoulder injury
or any other injury.” Stipulation, ¶ 6.



1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended
at 44 U.S.C. § 3501 note (2012)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on March 18, 2016, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulated that petitioner shall receive the following compensation:

        A lump sum of $72,500.00 in the form of a check payable to petitioner.
        Stipulation, ¶ 8. This amount represents compensation for all items of damages
        that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
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